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                       UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION



  ENTROPIC COMMUNICATIONS, LLC,                  Civil Action No. 2:22-cv-00125-JRG

        Plaintiff

           v.

  CHARTER COMMUNICATIONS, INC.,

        Defendant.
                                                    JURY TRIAL DEMANDED




          CHARTER’S REPLY BRIEF IN SUPPORT OF ITS MOTION FOR
             SUMMARY JUDGMENT OF NON-INFRINGEMENT OF
           THE ASSERTED CLAIMS OF THE ’682 AND ’690 PATENTS
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        Charter purchased




                                                                             .

        Entropic’s infringement theory for the ’682 patent depends on use of




           Entropic never sought such a construction, nor any construction of CMTS, because it

 agreed the term has a plain meaning—CMTS is specified, for example, by the DOCSIS standard.

 Entropic cannot now simply contort its plain meaning to avoid summary judgment.

        Summary judgment is also warranted for another independent reason. The claims require

 the “determining” and “assigning” steps be performed “for each cable modem served by said

 CMTS.”

              there can be no infringement. Again, Entropic resorts to rewriting the claims. It says

 “each cable modem served” no longer means what it says, and instead means something like “each

 cable modem for which the claim steps are performed”—in other words changing “each” into “one

 or more.” No justification is possible and none is offered by Entropic, other than it would be unfair

 to permit avoidance of infringement by limiting the claim to performance of these steps for “each

 cable modem served.” What would be unfair is any other result that would leave the public unable

 to rely on the plain and unambiguous meaning of the claims the patentee drafted.



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       3.




       4.




       5.




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  II.   ENTROPIC CANNOT AVOID SUMMARY JUDGMENT BY REDEFINING A
        “CMTS”




                            Neither party sought construction of CMTS, nor does Entropic offer a

 construction now. Instead, it merely relies on language from the patent to argue a CMTS can be

 implemented in a “distributed fashion.” (See Opp. at 5, 13–14 (quoting Dkt. 176-3 at 7:31–38).)

 The patent never says this about a CMTS. What it says is that “the present invention,” not the

 CMTS, may be implemented in a variety of ways, including in a “distributed fashion.” (Dkt. 176-

 3 at 7:33–41.) This does not purport to re-define the plain meaning of a “CMTS” so that it can

 include anything in communication with the CMTS.

        The patent’s use of CMTS is consistent

 with its plain meaning as referring to the device

 that serves as the terminal point, located at a

 nearby headend or hub, for communications with cable modems using DOCSIS. (See id. at Figs. 1,

 2A, 4A, 4B; see also id. at 2:11–27.) CMTS stands for “cable modem termination system.” (Dkt.

 176-3 at 2:57–58.)




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     The patent also makes clear that the CMTS is a distinct piece of equipment that does not include

 every server with which it interacts. The CMTS, it explains, “manage[s] connections” to the cable

 modems, which may include “forwarding of dynamic host configuration protocol (DHCP)

 messages between a DHCP server and the CMs” and “forwarding of time of day messages between

 a time of day server and the CMs.” (Dkt. 176-3 at 2:61–3:8.) This confirms that other servers, such

 as the “DHCP” and “time of day” servers, interact with the CMTS but do not thereby become part

 of the CMTS. Any other result would render the term meaningless.




                                                                                    Nor would there

 be any understandable limit to what that would include.

         Second, Entropic asserts a factual dispute




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  “Ex.” refers to Exhibits to the Declaration of Elizabeth Long In Support Of Charter’s Reply Brief
 In Support Of Its Motion For Summary Judgment Of Non-Infringement Of The Asserted Claims
 Of The ’682 And ’690 Patents, filed herewith.
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        Because there is no genuine dispute of fact, summary judgment is appropriate.

 III.   THE PLAIN CLAIM LANGUAGE OF “FOR EACH CABLE MODEM SERVED
        BY SAID CMTS” COMPELS SUMMARY JUDGMENT

        Entropic asserts that Charter’s argument that the steps are not performed for

                                                                                            Charter,

 however, is not proposing any new construction. The claim language is clear that infringement

 requires “determining . . . for each cable modem served by said CMTS” and “assigning . . . each

 cable modem.” (Dkt. 176-3 at 8:2–24 (claim 1).) Summary judgment is warranted because

 Entropic does not dispute Charter



        While Entropic says it is           that these steps must be applied to

 (Opp. at 16), patentees are “bound by” claim terms that “are clear and distinct.” See, e.g., Markman

 v. Westview Instruments, Inc. 52 F.3d 967, 986 (Fed. Cir. 1995).7 Entropic proposes that the claim

 language be read to mean that,



                                     This turns the claim phrase “each cable modem served by said


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   If the “each” limitation is applied, Entropic argues, the claims could be “circumvented” by not
 serving all cable modems. (Opp. at 16–17.) Nothing, however, requires claims to be construed
 more broadly than written to make it difficult for the public to “circumvent” a claim.
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 CMTS” into “each cable modem for which the claimed steps are performed.” The construction

 would effectively and impermissibly rewrite “each” into “one or more,” contrary to plain meaning.

        Finally, Entopic contends that there is a                            ” precluding summary

 judgment. (Opp. at 17.) It argues that

                                                                          The evidence, however, is

 undisputed that this is not so. (Supra at Section I, ¶ 6 (discussing SOFs ¶¶ 13–14).) But even if it

 were true, it would not change the fact that the claimed method steps are not performed for




                  Doing so would simply rewrite the claim the way Entropic proposes but cannot

 support. Accordingly, summary judgment should be granted for this reason whether or not the

 Court finds there is no genuine fact dispute over whether                            .

 IV.    ENTROPIC CONCEDES SUMMARY JUDGMENT AS TO

        The parties are in agreement that Charter has not infringed any asserted claim of the ’682

 patent or the ’690 patent through




                               See, e.g., Nat’l Oilwell DHT, L.P. v. Amega W. Servs., LLC, No. CV

 2-14-1020, 2020 WL 1890631, at *1 n.1, *7 (E.D. Tex. Apr. 16, 2020) (granting motion for partial

 summary judgment as to particular claims within a patent).

  V.    CONCLUSION

        Accordingly, the Court should grant Charter’s motion.



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  Dated: October 3, 2023              Respectfully submitted,

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